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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
                             Plaintiff,
                      v.                                         24-CV-
$30,695.00 UNITED STATES CURRENCY SEIZED
FROM JP MORGAN CHASE BANK, N.A.,
ACCOUNT NO. 3982871197,

                             Defendant in rem.



                      VERIFIED COMPLAINT FOR FORFEITURE


       The United States of America, by its attorneys, Trini E. Ross, United States Attorney

for the Western District of New York, and Mary Clare Kane, Assistant United States

Attorney, of counsel, for its Verified Complaint herein alleges as follows:


                                    CAUSE OF ACTION


       1.      This is an action in rem pursuant to Title 21, United States Code, Section

881(a)(6) for the forfeiture of the sum of $30,695.00 in United States currency (hereinafter

“defendant currency”), which was seized from JP Morgan Chase Bank, N.A., Account No.

3982871197 on or about August 11, 2023 pursuant to a Federal Seizure Warrant.


       2.      The defendant currency was converted to a check and deposited into an

account under the custody of the United States Marshals Service (“USMS”), Buffalo, New

York, and is held within the jurisdiction of this Court.




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                              JURISDICTION AND VENUE


       3.      This Court has subject matter jurisdiction of this action commenced by the

United States pursuant to Title 28, United States Code, Section 1345 and over an action for

forfeiture pursuant to Title 28, United States Code, Section 1355(a). This Court has in rem

jurisdiction pursuant to Title 28, United States Code, Sections 1355(b) because the acts or

omissions giving rise to the forfeiture occurred in the Western District of New York. Venue

is properly premised in the Western District of New York pursuant to Title 28, United States

Code, Section 1395, because the defendant currency is currently in the custody of the United

States Marshals Service for the Western District of New York.



                                           FACTS


       4.      The facts and circumstances supporting the forfeiture of the defendant currency

are contained in the Affidavit of John M. Skonecki, Task Force Officer of the Drug

Enforcement Administration, a copy of which is attached hereto as Exhibit 1 and

incorporated as though fully set forth herein and has been provided to the Court with an

application that it remain under seal under further Order of the Court.



                      INITIATION OF CIVIL JUDICIAL ACTION


       5.      On or about November 3, 2023, the Drug Enforcement Administration

received a claim to halt the administrative forfeiture proceedings against the defendant

currency and requested referral for judicial forfeiture proceedings.




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                      CONCLUSION AND REQUESTS FOR RELIEF


       6.       Based on all of the foregoing facts, the circumstances surrounding those facts,

and the experience and training of the law enforcement officers involved, there is reasonable

belief that the defendant currency was furnished, or intended to be furnished, in the

furtherance of controlled substances distribution, and/or constitute proceeds traceable to

controlled substances distribution and/or constitutes all moneys, negotiable instruments, and

securities used or intended to be used to facilitate any violation of controlled substances

violation and is.subject to forfeiture pursuant to Title 21, United States Code, Section

881(a)(6).


       WHEREFORE, the United States of America respectfully requests that:

                (1)    that an arrest warrant in rem be issued for the arrest of the defendant
                       currency;

                (2)    that all persons having any interest therein be cited to appear herein and
                       show cause why the forfeiture should not be decreed;

                (3)    that a judgment be entered declaring the defendant currency be
                       condemned and forfeited to the United States of America for disposition
                       in accordance with the law;

                (4)    that the costs of this suit be paid to and recovered by the United States
                       of America; and

                (5)    that the Court grant such order and further relief as deemed just and
                       proper.




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Dated:      February 1st, 2024
            Buffalo, New York.
                                          TRINI E. ROSS
                                          United States Attorney
                                          Western District of New York

                                          s/Mary Clare Kane
                                    By:   MARY CLARE KANE
                                          Assistant United States Attorney
                                          United States Attorney’s Office
                                          Western District of New York
                                          138 Delaware Avenue
                                          Buffalo, New York 14202
                                          (716) 843-5809
                                          mary.kane@usdoj.gov




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STATE OF NEW YORK )
COUNTY OF ERIE    )                ss.:
CITY OF BUFFALO   )

       John M. Skonecki, being duly sworn, deposes and says:

       I am a Task Force Officer of the Drug Enforcement Administration (DEA) in the

Western District of New York, and I am familiar with the facts and circumstances

surrounding the seizure of $30,695.00 United States currency from JP Morgan Chase Bank,

N.A., Account No. 3982871197 on or about August 11, 2023. The matters alleged in the

Verified Complaint for Forfeiture and the attached Exhibits are true to the best of my

knowledge and belief and were obtained during the course of the investigation of the

defendant currency and provided to the officials of the United States Department of Justice

and United States Attorney’s Office.


                                          s/John M. Skonecki
                                          John M. Skonecki
                                          Task Force Officer
                                          Drug Enforcement Administration


Subscribed and sworn to before
me this 1st of February 2024.


s/Gabriela Kick
Notary Public
GABRIELA KICK
Notary Public, State of New York
Qualified in Niagara County
My Commission Expires: 09/04/2026




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